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 RESOLUTION AUTHORIZING COMMENCEMENT OF PROCEEDINGS UNDER
CHAPTER 7 OF THE BANKRUPTCY CODE FOR PANACEUTICS NUTRITION, INC.

       WHEREAS, the board of directors (the “Board”) of Panaceutics Nutrition, Inc. (the
“Company”), at a duly convened meeting at which all members of the Board were present, upon
review and consideration of the Company’s inability to continue operations at a level sufficient
to satisfy outstanding and expected future obligations, determined in the exercise of its business
judgment that it is in the best interest of the Company to liquidate the Company’s assets and to
file a petition commencing a Chapter 7 proceeding in the U.S. Bankruptcy Court for the Middle
District of North Carolina.
       NOW, THEREFORE, BE IT RESOLVED that the Company is authorized to file a
Chapter 7 petition in the United States Bankruptcy Court for the Middle District of North
Carolina, and to otherwise proceed under Chapter 7 of the United States Bankruptcy Code, and
       BE IT FURTHER RESOLVED that L. Staton Noel as Chief Executive Officer of the
Company is authorized to execute the petition, schedules, statement of financial affairs, reports,
and any other documents required for the Chapter 7 filing; and
       BE IT FURTHER RESOLVED that the Company shall employ Northen Blue, L.L.P. as
its bankruptcy counsel to file the Chapter 7 case and represent the Company in all proceedings
thereunder; and
       BE IT FURTHER RESOLVED that the Company shall enter into agreements with (i) L.
Staton Noel as Chief Executive Officer and (ii) Mark Friedman as Chief Financial Officer, to
provide services in such capacities, respectively, through the filing of the Chapter 7 petition and
thereafter as reasonably required under applicable provision of the Bankruptcy Code, upon
mutually acceptable terms and conditions.
Date: May 30, 2023

Panaceutics Nutrition, Inc.


By: ____________________________
       L. Staton Noel, Secretary
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                                                                                                                                                                       SOFA EXHIBIT 3




Payments 3/28-6/30/2023   Panaceutics-Non-Insider payments over $7,575 3/28-6/30/23

Vendor No.                Vendor - Name                               Due Date Document Type     Description
                                                                                        Document No.                                                    Total
V00300                    Northen Blue LLP                            6/21/2023 Payment PI002211 Invoice UPI002161                                          5,000.00   Legal
V00300                    Northen Blue LLP                             6/1/2023 Payment PI002210 Invoice UPI002160                                         10,000.00   Legal
V00300 Total                                                                                                                                               15,000.00
V00281                    Ramp Credit Cards                            4/3/2023   Payment   PI002034   Invoice UPI002020                                    5,000.00   Miscellaneous charges on credit card
V00281                    Ramp Credit Cards                           4/18/2023   Payment   PI002119   Invoice UPI002066                                    5,283.19   Miscellaneous charges on credit card
V00281                    Ramp Credit Cards                           5/11/2023   Payment   PI002157   Invoice UPI002105                                    3,000.00   Miscellaneous charges on credit card
V00281                    Ramp Credit Cards                           5/16/2023   Payment   PI002159   Invoice UPI002107                                    1,262.56   Miscellaneous charges on credit card
V00281                    Ramp Credit Cards                           6/20/2023   Payment   PI002205   Invoice UPI002158                                      966.02   Miscellaneous charges on credit card
V00281 Total                                                                                                                                               15,511.77
V00042                    AFCO                                         4/3/2023 Payment PI002035 Invoice UPI002021                                          5,619.91   Insurance finance payments
V00042                    AFCO                                         5/1/2023 Payment PI002128 Invoice UPI002074                                          5,619.91   Insurance finance payments
V00042                    AFCO                                         6/1/2023 Payment PI002201 Invoice UPI002155                                          5,619.91   Insurance finance payments
V00042 Total                                                                                                                                               16,859.73
V00100                    Scott Insurance                             6/27/2023 Payment PI002219 Invoice UPI002165                                         23,715.00   Insurance
V00100                    Scott Insurance                             6/29/2023 Payment PI002220 Invoice UPI002166                                          9,744.08   Insurance
V00100 Total                                                                                                                                               33,459.08
V00093                    Pittsylvania County Industrial Dev. Auth.    4/3/2023 Payment PI002033 Invoice UPI002019                                         11,475.11   MEL, Rent, loan payments-Ringgold VA
V00093                    Pittsylvania County Industrial Dev. Auth.    4/3/2023 Payment ACH PITTS 4.4.23
                                                                                                  Pittsylvania County Industrial Dev. Auth.                20,693.87   MEL, Rent, loan payments-Ringgold VA
V00093 Total                                                                                                                                               32,168.98
V00043                    ARE-NC Region No. 14, LLC                                               ARE-Wire payment 4.4.23-April rent and past charges
                                                                       4/3/2023 Payment WIRE ARE 4.4.23                                                    50,019.95   Rent, 6 Davis Drive plus prior month deferred charge
V00043                    ARE-NC Region No. 14, LLC                    5/5/2023 Payment PI002144 Invoice UPI002034                                         35,060.12   Rent, 6 Davis Drive
V00043 Total                                                                                                                                               85,080.07
V00213                    TriNet                                      3/31/2023   Payment   PI002028   Invoice UPI002000                                   76,946.15   Payroll
V00213                    TriNet                                      3/31/2023   Payment   PI002029   Invoice UPI001999                                    6,407.81   Payroll
V00213                    TriNet                                      4/14/2023   Payment   PI002080   Invoice UPI002029                                    6,428.05   Payroll
V00213                    TriNet                                      4/28/2023   Payment   PI002109   Invoice UPI002063                                   76,407.69   Payroll
V00213                    TriNet                                      4/28/2023   Payment   PI002110   Invoice UPI002064                                    6,124.96   Payroll
V00213                    TriNet                                      5/12/2023   Payment   PI002160   Invoice UPI002090                                    6,227.67   Payroll
V00213                    TriNet                                      5/30/2023   Payment   PI002170   Invoice UPI002118                                   76,291.12   Payroll
V00213                    TriNet                                      6/15/2023   Payment   PI002204   Invoice UPI002146                                    1,039.00   Payroll
V00213                    TriNet                                      6/22/2023   Payment   PI002208   Invoice UPI002149                                   12,448.77   Payroll
V00213                    TriNet                                      5/26/2023   Payment   PI002168   Invoice UPI002116                                    6,307.61   Payroll
V00213                    TriNet                                      6/21/2023   Payment   PI002207   Invoice UPI002148                                    6,703.45   Payroll
V00213                    TriNet                                       6/8/2023   Payment   PI002198   Invoice UPI002133                                    7,342.28   Payroll
V00213 Total                                                                                                                                              288,674.56
Grand Total                                                                                                                                               486,754.19
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                                                                                                                                               SOFA EXHIBIT 4


Panaceutics Nutrition, Inc Insider payments 6/28/22-6/27/23
Vendor No.      Vendor - Name          Due Date              Document No.
                                                    Document Type                    Description                                      Total           Notes
V00068          HBC Holding Co LLC      10/31/2022 Payment 3933                      HBC Holding Co LLC                                    2,831.99   Royalty
V00068          HBC Holding Co LLC       1/30/2023 Payment 4042                      HBC Holding Co LLC                                    2,951.97   Royalty
V00068          HBC Holding Co LLC       4/28/2023 Payment 4111                      HBC Holding Co LLC                                    2,410.38   Royalty
V00068 Total                                                                                                                               8,194.34
V00081                                   6/30/2022
                Lakeview Business Advisory          Payment LLC
                                             and Management, PI001515                Invoice UPI001495                                    15,000.00   Contract services--CFO
V00081                                   7/29/2022
                Lakeview Business Advisory          Payment LLC
                                             and Management, PI001568                Invoice UPI001547                                    15,000.00   Contract services--CFO
V00081                                   8/31/2022
                Lakeview Business Advisory          Payment LLC
                                             and Management, PI001627                Invoice UPI001605                                    15,000.00   Contract services--CFO
V00081                                   9/30/2022
                Lakeview Business Advisory          Payment LLC
                                             and Management, PI001675                Invoice UPI001645                                    15,000.00   Contract services--CFO
V00081                                  10/28/2022
                Lakeview Business Advisory          Payment LLC
                                             and Management, PI001767                Invoice UPI001736                                    15,000.00   Contract services--CFO
V00081                                  11/30/2022
                Lakeview Business Advisory          Payment LLC
                                             and Management, PI001798                Invoice UPI001789                                    15,000.00   Contract services--CFO
V00081                                  12/28/2022
                Lakeview Business Advisory          Payment LLC
                                             and Management, PI001868                Invoice UPI001835                                    15,000.00   Contract services--CFO
V00081                                   1/31/2023
                Lakeview Business Advisory          Payment LLC
                                             and Management, LVBAM-PARTIAL 1.2023    Lakeview Business Advisory and Management, LLC        7,500.00   Contract services--CFO
V00081                                   3/31/2023
                Lakeview Business Advisory          Payment LLC
                                             and Management, PI002030                Invoice UPI002015                                    15,000.00   Contract services--CFO
V00081                                   4/28/2023
                Lakeview Business Advisory          Payment LLC
                                             and Management, PI002121                Invoice UPI002067                                    15,000.00   Contract services--CFO
V00081                                   6/15/2023
                Lakeview Business Advisory          Payment LLC
                                             and Management, 1111                    Lakeview Business Advisory and Management, LLC       15,000.00   Retention payment-related to bankruptcy
V00081                                   6/14/2023
                Lakeview Business Advisory          Payment LLC
                                             and Management, PI002203                Invoice UPI002157                                    15,000.00   Contract services--CFO
V00081 Total                                                                                                                             172,500.00
V00137          Staton Noel             11/16/2022 Payment 3949                      Staton Noel                                           1,333.79   Expense reimbursement
V00137          Staton Noel              6/15/2023 Payment PI002214                  Invoice UPI002164                                    20,000.00   Retention payment-related to bankruptcy
V00137 Total                                                                                                                              21,333.79
Grand Total
Grand Total                                                                                                                              202,028.13

Staton Noel--also during period:
    Gross Wages                Benefits       401K
     174,431.81               6,880.00    7,197.49
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            Adrienne Zitka
            DSM North America Legal
            45 Waterview Blvd.
            Parsippany, NJ 07054


            Americold Logistics, LLC
            111 Imperial Drive
            Sanford, NC 27330


            Aptean, Inc.
            PO Box 743722
            Atlanta, GA 30374-3722


            ARC3 Gases, Inc.
            Attn: Officer
            PO Box 896866
            Charlotte, NC 28289-6866


            ARE-NC Region No. 14, LLC
            Attn: Oliver Sherrill
            Alexandria Real Estate Equities, Inc. 26
            Pasadena, CA 91101


            Delaware Dept. of State
            Division of Corporations PO Box 898
            Dover, DE 19903


            Dodson Bros. Exterminating Co., Inc.
            Attn: Officer
            PO Box 10219
            Danville, VA 24543


            DSM Venturing B.V.
            Attn: Officer
            Urmonderbaan 22 Geleen LI 6167 Netherlan


            DSM Venturing B.V.
            Attn: Pieter Wolters, Managing Director
            Het Overloon 1, 6411 TE Heerlen The Neth


            Economy Exterminators, Inc.
            Attn: Officer
            PO Box 4493
            Cary, NC 27519


            Edison Consults, LLC
            Attn: Officer
            202 Hemler Dr.
            Chapel Hill, NC 27517


            EMSL Analytical, Inc.
            Attn: Officer
            200 Route 130 North
            Riverton, NJ 08077
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            Eurofins Food Chemistry Testing US Inc.
            Attn: Officer
            PO BOX 1482
            Carol Stream, IL 60132-1482


            Everworks Ltd.
            Attn: Officer
            268 Bush Street 3334
            San Francisco, CA 94104


            FedEx
            Attn: Officer
            PO Box 223125
            Pittsburgh, PA 15251-2125


            First Piedmont Corp.
            Attn: Officer
            PO Box 1069
            Chatham, VA 24531


            GCR Company, Inc.
            Attn: Officer
            1104 Seymour Drive PO Box 511
            South Boston, VA 24592


            Green Wave Ingredients, Inc.
            Attn: Officer
            PO Box 102922
            Pasadena, CA 91889-2922


            Hire Dynamics
            Attn: Officer
            PO Box 116834
            Atlanta, GA 30368-6834


            Hughes Pittman Gupton
            1500 Sunday Drive, Suiite 300
            Raleigh, NC 27607


            Industrial Development Authority
            Attn: Matthew D. Rowe, Director of Econo
            1 Center Street PO Box 426
            Chatham, VA 24531


            Insight Software
            Attn: Officer
            PO Box 200386
            Pittsburgh, PA 15251-0386


            J. Vaden Hunt, County Attorney
            1 Center Street PO Box 426
            Chatham, VA 24531


            Keen Growth Capital Fund II LP
            Attn: Jonathan Smiga, Managing Partner
            513 Main Street
            Windermere, FL 34786
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            L. Staton Noel
            6 Davis Drive, Suite 110
            Durham, NC 27709


            Lakeview Business Advisory & Management
            Attn: Officer
            7217 Blaney Bluffs Lane
            Raleigh, NC 27606


            Lakeview Business Advisory & Management
            Attn: Mark Friedman
            7217 Blaney Bluffs Lane
            Raleigh, NC 27606


            Launch Place Seed Fund II, LLC
            Attn: Eva Doss
            527 Bridge Street, Suite 200
            Danville, VA 24541


            OneFul Health, Inc.
            Attn: Officer
            PO Box 110263
            Durham, NC 27709


            OneFul Health, Inc.
            Attn: Edison Hudson, Jr.
            f/k/a Panacea Biomatx, Inc. 3700 Regency
            Cary, NC 27518


            OneFul Health, Inc.
            Attn: Edison Hudson, Jr.
            3700 Regency Parkway, Suite 140
            Cary, NC 27518


            PathoSans
            Attn: Christine Oxenrider
            100 W. Lake Dr.
            Glendale Heights, IL 60139


            Pittsylvania Co. Treasurer
            Attn: Kim Van Der Hyde
            PO Box 426
            Chatham, VA 24531


            Pittsylvania County Treasurer
            Attn: Kim Van Der Hyde
            PO Box 426
            Chatham, VA 24531


            Prollergy Corporation
            Attn: Mike Reynoldson
            6345 Balboa Blvd Bldg 3, Ste 350
            Encino, CA 91316


            Pureflow Inc.
            Dept. #808 PO Box 1000
            Memphis, TN 38148
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            Pureflow, Inc.
            Attn: Officer
            Dept. #808 P.O. Box 1000
            Memphis, TN 38148


            Pureflow, Inc.
            1241 Jay Lane
            Graham, NC 27253


            Sigma Equipment, Inc.
            Attn: Officer
            424 E. Inglefield Rd
            Evansville, IN 47725


            Southeastern Paper Group, Inc.
            Attn: Officer
            P.O. Box 330
            Browns Summit, NC 27214-0300


            Southern Air, Inc.
            Attn: Officer
            PO Box 4205
            Lynchburg, VA 24502


            Southern Security Group, Inc.
            Attn: Officer
            1421 E. Broad St., Suite 348
            Fuquay Varina, NC 27526


            Spinak Consulting LLC
            Attn: Officer
            5 Park Place, Suite 317
            Annapolis, MD 21401


            Spraying Systems Co
            Attn: Officer
            PO Box 95564
            Chicago, IL 60694-5564


            Triangle Compounding Pharmacy Inc
            Attn: Officer
            3700 Regency Parkway, Suite 140
            Cary, NC 27518


            Uline
            Attn: Officer
            PO Box 88741
            Chicago, IL 60680-1741


            Videojet
            Attn: Brent Walton
            1500 Mittel Boulevard
            Wood Dale, IL 60191


            VideoJet Technologies, Inc.
            Attn: Officer
            12113 Collection Center Drive
            Chicago, IL 60693
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            Virginia Dept of Taxaction
            Office of Customer Services
            P.O. Box 1115
            Richmond, VA 23218-1115


            Worth Harris
            608 Gaston Street
            Raleigh, NC 27603


            Wyrick Robbins Yates & Ponton LLP
            Attn: Officer or Managing Agent
            4101 Lake Boone Trail, Suite 300
            Raleigh, NC 27607
